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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF VIRGINIA
                                      Richmond Division


FLAGSTAR BANK, FSB,
     Plaintiff,

                v.                                      Civil Action No. 3:21-cv-568 (DJN)

KEITER, STEPHENS, HURST, GARY
& SHREAVES, A Professional Corporation
d/b/a Keiter CPA,
       Defendant.



        ORDER REGARDING PROCEDURES FOR SETTLEMENT CONFERENCE

The Court has scheduled this case for a settlement conference on May 16, 2022 at 9:30 A.M.

At that time, the parties shall report to the chambers of Magistrate Judge Mark R. Colombell.

        In addition to counsel, each party must have a representative physically present with the

full authority to settle this action. If an individual is a named party, that individual must be

personally present at the settlement conference. If a business entity (or entities) is/are involved, each

entity must have a representative with full authority to settle the case on behalf of that entity physically

present. For purposes of this Order, a defense representative has full authority if the representative

has the authority to settle the case up to the value of the last demand by the Plaintiff(s). A defense

representative should have full authority even if the representative does not expect or intend for the

case to settle at the value of the last demand by the Plaintiff(s). The failure of a party to have a

representative physically present with full authority to settle the case may result in the

imposition of sanctions upon that party.

        At least ten days before the settlement conference, not later than close of business (5:00
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P.M.),1 each party must submit a brief ex parte memorandum to the Court setting forth that party’s

position and include the following topics:

         •   An objective overview of the basic allegations, defenses and relevant facts;
         •   A realistic assessment of the strengths and weaknesses of each party’s position;
         •   A summary of settlement discussions to date;
         •   A statement of settlement expectations (to include settlement offers(s));
         •   A list of the names and positions of those who will attend the settlement conference on
             behalf of the party, including identification of the person(s) with the full authority to settle
             the case on behalf of the party; and,
         •   A certification that a person with full authority to settle the case on behalf of the party will
             be physically present at the settlement conference.

Due to the ex parte nature of the settlement memorandum, it should be delivered directly to the

Court’s chambers (either by e-mail or by hand delivery of a hard copy) and not filed with the Clerk’s

Office. The memorandum will be considered and maintained on a confidential basis until resolution

of the case, when the memorandum will then be destroyed. The memorandum will not be exchanged

(or its contents discussed) with opposing parties or counsel by the Court without prior permission.

         The Court will allot three (3) hours for the settlement conference. Therefore, the parties

must be prepared to move forward in an expeditious manner during the settlement conference. To

aid this process, not less than seven (7) calendar days before the settlement conference, counsel for

the plaintiff(s) shall tender an offer to counsel for the defendant(s). Counsel for the defendant(s) shall

respond either by accepting the offer or with a counter-offer not less than four (4) calendar days before

the settlement conference. Counsel for the plaintiff(s) shall be responsible for informing the Court

via an e-mail to chambers of the offers exchanged and the outcome of this process not less than three

(3) calendar days before the settlement conference.2




1
  If this deadline falls on a Saturday, Sunday, or federal holiday, the parties must submit their memoranda no later than
close of business (5:00 PM) on the nearest preceding business day.
2
  If this deadline falls on a Saturday, Sunday, or federal holiday, the deadline shall be presumed to have expired at close
of business (5:00 PM) on the nearest preceding business day.
                                                             2
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         In any case in which the Commonwealth of Virginia or other entity holds a lien against

the Plaintiff(s) for past medical treatment, counsel for Plaintiff(s) will make a good faith effort to

ascertain the current amount of the lien and will provide that information to the Court in the ex parte

settlement memorandum. If the lien is significant and likely to impede the parties’ ability to settle,

counsel for Plaintiff(s) will, not less than forty-five (45) days prior to the settlement conference,

contact the lien holder and request that a representative be available by telephone during the

settlement conference to negotiate the lien. If the lien is held by the Commonwealth, the Office of the

Attorney General of the Commonwealth of Virginia (“OAG”), Financial Recovery Section should be

contacted, and provided with the lien balance and any other information necessary to facilitate the

negotiations.

         The settlement conference will begin with all parties and their counsel/representatives present.

The Court will explain its role and the manner that the settlement conference will be conducted.

Thereafter, the parties will be separated and the Court will meet with counsel for each side until a

resolution is achieved. When an agreement is reached, the Court will be prepared to reduce the

agreement to a Memorandum of Understanding, which will be enforceable upon the parties as a

contract. Thereafter, the parties will have ten (10) days to complete the final settlement agreement

consistent with the terms of the Memorandum of Understanding. Should the parties wish to draft

their own settlement agreement at the settlement conference in lieu of the Memorandum of

Understanding, they may do so, but the parties must bring with them to the settlement conference a

laptop along with a thumb drive containing a draft settlement agreement.3 In all cases involving a

class action or putative class action, counsel for the Plaintiffs shall be responsible for emailing to




3
 The parties may also bring a laptop with a thumb drive if they would like to expedite the process for the creation of the
Memorandum of Understanding.
                                                            3
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chambers in WORD format draft terms regarding any class issues for the Memorandum of

Understanding not less than three (3) calendar days before the settlement conference.

        Consistent with the requirements of this Court’s Personal Electronics Device Policy, 4 should

counsel or party representatives desire to bring any electronic devices, including laptops and/or cell

phones, to the settlement conference, counsel must complete the form designated “Request for

Authorization to bring electronic device(s) into the United States District Court for the Eastern

District of Virginia.” Counsel should complete this form and submit it to chambers no later than one

week before the settlement conference. On the date of the settlement conference, counsel shall bring

a physical copy of the authorization form, signed by Judge Colombell or his law clerk, for inspection

by court security officers.5

        If the matter is not settled, the Court will simply inform the designated trial judge that the

matter was not resolved despite the parties’ good faith efforts (provided that the parties comply with

the conditions of this Order and act in good faith during the settlement conference).

        The Clerk is directed to send a copy of this Order to all counsel of record and to any party not

represented by counsel.



        It is so ORDERED.



                                                        /s/
                                                     Mark R. Colombell
                                                     United States Magistrate Judge
Richmond, Virginia
       March 3, 2022
Date: ___________



4
  Both the policy and the form can be accessed at
https://www.vaed.uscourts.gov/sites/vaed/files/PERSONAL%20ELECTRONICS%20DEVICE%20POLICY.pdf
5
  Each individual named on the authorization form must bring his or her own physical copy of the authorization form
for inspection by court security officers.
                                                          4
